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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                              Case No.: 1:20-MJ-03278-JJO-1

 In Re: Sealed Search Warrant and
 Application for a Warrant
 _______________________________/

           MORDECHAI KORF, URIEL LABER, CHAIM SHOCHET
               AND THE OPTIMA FAMILY COMPANIES’
                     MOTION TO INTERVENE

        Mordechai Korf, Uriel Laber, Chaim Shochet, and various Optima Family
 Companies (collectively the “Movants”)1 hereby move to intervene in this
 proceeding, in order to assert valid claims of privilege and thereby avoid the
 deprivation of their constitutional rights.
        As privilege holders, the Movants are permitted to intervene. See In re Grand
 Jury Proceedings (Freeman), 708 F.2d 1571, 1575 (11th Cir. 1983) (holding that it
 was error to preclude limited intervention by claimed privilege holder in grand jury
 proceedings in order to assert privilege) (citing In re Grand Jury Proceedings
 (Jeffrey Fine), 641 F.2d 199, 201-03 (5th Cir. 1981)); see also In re Search Warrant
 Issued June 13, 2019, 942 F.3d 159 (4th Cir. 2019) (intervention permissible to
 assert privilege claims and challenge constitutionality of taint procedure); In re
 Grand Jury Subpoenas, 454 F.3d 511 (6th Cir. 2006) (same); United States v.
 Martoma, 962 F. Supp. 2d 602, 605-06 (S.D.N.Y. 2013) (“A third-party’s reasonable
 assertion of privilege with respect to documents to be produced in a criminal action



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   The Optima Family Companies are listed in Attachment B.3 to the search warrant. The Movants
 include all such companies with the exception of Optima Specialty Steel, Kentucky Electric Steel,
 Corey Steel Company, Michigan Seamless Tube, LLC, Georgian Manganese, LLC, Vartisikhe
 2005, LLC, Optima Harvard Facility LLC and Optima Stemmons, LLC.
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 is sufficient grounds on which to grant the third-party’s motion to intervene and to
 consider the merits of that party’s application.”).
       By way of background, on August 4, 2020, federal law enforcement executed
 a search warrant at the offices of the relevant Optima Family Companies located at
 200 S. Biscayne Boulevard, Suite 5500, Miami, Florida, 33130. As part of that
 search, law enforcement seized documents and equipment, including internal servers
 containing electronic documents and correspondence.
       In-house lawyers for the Optima Family Companies and affiliated individuals
 (such as the Movants), worked at the office, attorneys Daniela Rost, Robert Powell,
 Thad Florence, and Julia Kim performed legal work for various Optima Family
 Companies and individuals, including Korf, Laber and Shochet. Both Ms. Rost and
 Mr. Powell provided legal advice to many of the Optima Family Companies and
 theirs affiliated individuals, including the Movants. Throughout the years, the office
 also employed a number of paralegals. Ms. Rost was present in her private office on
 the date of the search. She verbally informed the agents that day, and again in writing
 the following day, that they had seized documents that were protected from
 disclosure by the attorney-client and/or work product privileges. The electronic data
 seized by the government contains the Optima Family Companies and their affiliated
 individuals’ privileged documents.
       The government has stated that it will be reviewing all of the seized
 documents and communications for privilege on its own, using a “filter team.” The
 Movants therefore seek intervention to ensure that the protocol used to assess
 privilege accords with fundamental constitutional rights, including those afforded
 by the Sixth Amendment. See In re Search Warrant Issued June 13, 2019, 942 F.3d
 159; In re Grand Jury Subpoenas, 454 F.3d 511; see also United States v. Blasco,
 702 F.2d 1315, 1329 (11th Cir. 1983) (holding that “a communication between an
 attorney and his client that is protected by the common law attorney-client privilege
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 is also protected from government intrusion by the sixth amendment”). Because the
 “filter team” procedure employed by the government will cause the Movants
 irreparable harm, depriving them of their fundamental constitutional rights,
 intervention should be granted. See generally In re Search Warrant, 942 F.3d 159
 (allowing intervention and holding that “filter team” procedure was improper); In re
 Grand Jury Subpoenas, 454 F.3d 511 (same). Due to the exigencies imposed by the
 government’s ongoing possession and stated intention of reviewing privileged
 documents, the Movants have filed a separate motion for preliminary injunction, (the
 “Motion”), contemporaneously herewith. The Motion sets forth in detail the factual
 basis for intervention, as well as the legal interests at issue and the nature of the relief
 sought.
        For all of the foregoing reasons, as well as those detailed in the Motion filed
 contemporaneously herewith, the Movants should be granted leave to intervene to
 assert claims of privilege and to attempt to preserve their constitutional rights.
        WHEREFORE, the Movants respectfully request that this Court grant leave
 to intervene in this action, and any other relief that the Court deems just and proper.




                                           Respectfully submitted,



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